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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
IN RE: FEMA TRAILER MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION SECTION “N-4"
JUDGE ENGELHARDT

MAG. JUDGE ROBY

BRR KEK RR RRR ERE KEK KK RRR RRR ER RR RR RRR RR ROR OR OR OR OK

DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION

U.S. EXHIBIT NO. 10-B
Case 2:07-md-01873-KDE-MBN Document 196-15 Filed 05/18/08

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FEMA10-000213

SOLICITATION/CONTRACT/ORDER FOR COMMERCIAL ITEMS
OFFEROR TO COMPLETE BLOCKS 12, 17, 23, 24, & 30

1. REQUISITION NUMBER PAGE 1 OF

2, CONTRACT NO. 3. AWARO/EFFECTIVE 4. ORDER NUMBER 6. SOLICITATION NUMBER 6. SOLICITATION ISSUE
DATE DATE
HSFEHGQ-05-C-4155 See Bik Sic N/A N/A NiA
a. NAME b. TELEPHONE NUMBER {No collect @. OFFER DUE DATES
7. FOR SOUCITATICN calis) LOCAL, TIME
INFORMATION CALL:
> Thomas E. Mason 202-692-4210 NIA

8. ISSUED BY CODE
FEMA

Financial & Acquisition Management

500 © Sireet, S.\W. Room 350
Washington, D.C. 20472

10, THIS ACQUISITON iS

[J SET ASIDE: % FOR:

[Beate eusiness [_Jemensine SMALL

NAESTRICTED OF

[Juuszone smut
BUSINESS
SERVICE-DISABLED VETERAN: [—_] gia)
OWNED SMALL BUSINESS

NAICS:
SIZE STANDARD:

11. DELIVERY FOR FOS CESTINA-
TION UNLESS BLOCK [S
MARKED

CJ SEE SCHEDULE

12, DISCOUNT TERMS

13b. RATING

| 138. THIS CONTRACT IS A
RATED GHDER UNGER
DPAS (15 CFR 700}

14. METHOD OF SOLICITATION

CJ] REO [] Kea ly} RFP

15, DELIVER TC CODE 16. ADMINISTERED BY CODE
FEMA FEMA
Financia! & Acquisition Management ©
GSA Depo! aaton Rouge Gi ay
2695 N. Sherwood Forest Blvd 500 C Steet, S.W. Room 350
Baton Rouge, LA 70814 Washinglon, D.C, 20472
17a. CONTEACTORI CODE FACILITY | 18a. PAYMENT WILL BE MADE BY CODE {
CODE
CMH Homes, inc FEMA
PO Box $780 Disaster Finance Center

5000 Clayton Road
Maryville, TN 37802

TELEPHONE NG. 865-380-3005K016

Attn: Vendor Payments
P.O. Box 800
Berryville, VA 22811

CJ 17b. oeeee IF REMITTANCE IS DIFFERENT AND PUT SUCH ADORESS IN

8b, SUBMIT INVOICES TO ADDRESS SHOWN IN BLOCK 18a UNLESS BLOCK
BELOW ([& CHECKED

SEE ADDENDUM

19, 20, 21. 22, 23. 24,
ITEM NO. SCHEDULE OF SUPPLIES/SERVICES QUANTITY {UNIT UNIT PRICE AMOUNT
1 Single Section Manufactured Homes IAW Proposal 1,791 iLot 60,935,395.00

dated 09/02/05 shown as Attachment 4 to this

(Use Reverse and/or Attach Additonal Sheets as Neces.

contract

sary}

26. ACCOUNTING AND APPROPRIATION DATA
NNOQC336Y2005T 2005-06-41504DR-9044-XXXX-3198-D

26. TOTAL AWARD AMOUNT (For Govt. Use Oniyi
$50,932,395.00

272. SOLICITATION INCORPORATES BY REFERENCE FAR 52.212-1, B2.212-4, FAR E2

A

-212-3 AND 62.212-6 ARE ATTACHED. ADDENDA
27b. CONTRACTIPURCHASE GRADER iNCGAPGRATES BY REFERENCE FAR 52.212-4. FAR $2.212-5 IS ATTACHED, ADOENDA

[Jane [__Jane not artacue

ARE Jane NOT ATTACHED

{_] 28, CONTRACTOR 1S REQUIRED TO SIGN THIS DOCUMENT AND AETURN

COPIES TG ISSUING OFFICE. CONTRACTOR AGAEES TO FURNISH AND

DELIVER ALL ITEMS SET FORTH GR OTHERWISE IDENTIFIED ABOVE AND ON ANY

ADDITIONAL SHEETS SUBJECT TO THE TERMS AND CONDITIONS SPECIFI

Lf 29, AWARD GF CONTRACT: REF. OFFER

paso See Blk 316 your ofeER ON SOLICITATION
(ALOCK 5, INCLUDING ANY ADOITIONS OR CHANGES WHICH ARE
SET FORTH HEREIN, IS ACCEPTED AS TO ITEMS:

EG

30a. SIGNATURE OF OFFEROR/CONTRACTOR

Sila. UNITED

ATES OF lin ie RE A ONTARCTG OFFICER!

30b. NAME AND TITLE GF SIGNER {Type or print) 3Oc, DATE SIGNED

ER (Type or De 31c, DATE SIGNED

316. NAME OF CONTRACEING OFF:
Ashley Lewis, Contracting Officer, DHS 09/03/05

AUTHGRIZED FOR LOCAL REPRODUCTION
PREVIGUS EDITION IS NOT USABLE

STANDARD FORM 14449 (rev. 3/2005}
Prescribed by GSA - FAR 148 CFA) 63.272
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19. 20. 21, 22. 23. 2a,
ITEM NO, SCHEDULE OF SUPPLIES/SERVICES QUANTITY UNIT UNIT PRICE AMOUNT
32a. QUANTITY IN COLUMN 21 HAS BEEN
J RECEIVED J INSPECTED EJ ACCEPTED, AND CONFORMS TO THE CONTRACT, EXCEPT AS NOTED:
325. SIGNATURE OF AUTHORIZED GOVERNMENT 3é2c, CATE 32d. PRINTED NAME AND TITLE OF AUTHORIZED GOVERNMENT
REPRESENTATIVE REPRESENTATIVE
32e. MAILING ADDRESS OF AUTHORIZED GOVERNMENT REPRESENTATIVE 32¢. TELPHONE NUMBER OF AUTHORZED GOVERNMENT REPRESENTATIVE

32g. EMAL OF AUTHORIZED GOVERNMENT REPRESENTATIVE

23. SHIP NUMBER 34. VOUCHER NUMBER 35. AMOUNT VERIFIED 36. PAYMENT 37, CHECK NUMBER

CORRECT FOR
[| COMPLETE CI PARTIAL CJ FINAL

Po"PrparTIAL [ ” JFINAL

38. S/R ACCOUNT NO, 39. S/A VOUCHER NUMBER 140. PAID BY

41a. 1 CERTIEY THIS ACCOUNT IS CORRECT AND PROPER FOR PAYMENT |42a. RECEIVED BY {Print}
41b. SIGNATURE AND TITLE OF CERTIFYING OFFICER [41¢. DATE

42b. RECEIVED AT flocatioans

420. DATE REC'D (YYAMM/BD/ 42d, TOTAL CONTAINERS

STANDARD FORM 1449 trey. 3/2005) BACK
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Section A ~ Supplies or Services and Prices/Costs

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H2 Federal Mission Verification 2... cccesssessserssseceesresssssareetaesesseceesseestaresasresnrecanseratsarsrereatrrarerssseeees | O
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Section A - Supplies or Services and Prices/Costs

SECTION A — EXECUTIVE SUMMARY

SECTION A — EXECUTIVE SUMMARY
A.l Type of Contract

This is a fixed price type contract.

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Section B - Supplies or Services and Prices/Costs

SECTION B - SUPPLIES OR SERVICES AND PRICES/COSTS

B.1 General Description

The contractor shall supply from existing inventory the products and services described
in the CLINS below and described in Section C, Statement of Specifics.

CLIN Description Quantity Total

0001 Manufactured Homes | 1791 560,935,395 .00
from Existing
Inventory

G002* Firm Fixed Price N/A
Delivery

0003* Delivery NTE N/A

*If delivery is included in Manufactured Home price then CLINS 0002 and 0003 are not
applicable

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Case 2:07-md-01873-KDE-MBN Document 196-15 Filed 05/18/08 Page 7 of 39
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Section C ~ Descriptions / Specifications / Work Statement

SECTION C — SPECIFICATIONS
C.1 Introduction -

This is a summary of unit features: this information is an illustrative of the specifications
but can be modified and alternative units provided to meet the compelling and urgent need for
housing for the victims of the Katrina aftermath.

C.2 Description CLIN 0001 Manufactured Homes from Existing Inventory

Zoning Requirements. Structural design to be incorporated into each unit.
Roof Load Zone: Southern
Thermal (U/O} Zone: Southern-Thermal Zone |
Wind Zone: Wind Zone | and 2
Size and Configuration
Type Manufactured Home
Exterior Length Prefer 60, not exceed 70 ft {box length)
Exterior Width 14 ft (box width} (Preferred)
Electrical System-AMPS Prefer 100 A, not to exceed 200 A(AII-
Electric)
Electrical Systemn-Volts 126/240 V
Furnishing Fully Furnished
Bedrooms 3 (each bedroom designed for 2 people)
Bathroom Minimum Bathroom !
Refrigerator Prefer 18 cubic Foot Frost Free with Freezer
Range and Oven Yes, electric (no gas appliances)
Washer and Dryer Capacity Yes, washer and dryer not included.
Air Conditioner Yes, electric, central air (no window units)
Furnace Prefer Gas (LP and/or natural gas), electric
preferred
Microwave Yes 1.2 cubic foot with child lock
Water Heater Minimum 30 Gal (dual element) quick
recovery
Exterior Covering Vinyl siding (color: white or off white)
Smoke Detector Yes, electric w/battery-back-up(all bedrooms,
living room, kitchen, bathroom, and hallways)
Fire Extinguisher Yes
Floer Plan FEMA prefers that each home follow the
following basic floor plan. Beginning with the
front of the unit and working toward the rear,
the layout shail be:
e Bedroom #3
® Bedroom #2
e Living Room
« Kitchen/Dining Room

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FEMA19-000219

Section C — Descriptions / Specifications / Work Statement

e Furnace/Water Heater/phimbing Chase
e Bathroom
* Bedroom (Master)

CLIN 0002 Firm Fixed Price Delivery

CLIN 0003 Delivery Not-To-Exceed

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Section D — Packing, Packaging, and Marking

SECTION D— PACKING, PACKAGING, AND MARKING
D1 Packaging, Packing, and Marking

Products shall: be packaged, packed, and marked in accordance with the Contractor’s
standard commercial practices unless otherwise specified herein. The Contractor ts fully liable
for all damage, deterioration, or losses incurred during shipment and handling, unless the
damage, deterioration, or losses are due to the fault of the Government. The contractor shall
provide a packing slip which shall accompany each carton with information identifying the
contract number, a description ef the product enclosed (manufacturer name, model number,
serial number), and the customer point of contact.

Deliverv/Receiving Point

FEMA

GSA Depot Baton Rouge

2695 N. Sherwood Forest Blvd.
Baton Rouge, LA 70814

Certificates of Origin (Titles)

Express Mail to:

FEMA

Attn: James Kaczorewski
Room 254 °

500 C Street, $.W., Room 350
Washington, D.C. 20472 -

To be titled to “FEMA”

D.2 Special Marking Requirements

Special marking requirements for each unit should be provided as a unit data plate as
shown on attachment (1). Additionaily, the VIN numbers shall be visibly marked on an exterior
frame member.

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Section E — Inspection and Acceptance

SECTION E - INSPECTION AND ACCEPTANCE

E.1 Inspection and Acceptance

(a) Payment purposes:

(1) inspection and acceptance for payment purposes for CLINs 0001 and 0002 (if
applicable) will be at destination.

(2) Payment for CLIN 0003 (if applicable) will be made upon receipt of an acceptable

invoice.

E.2 Partial Delivery and Acceptance

Partial deliveries are acceptable.

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FEMA10-000222

Section F ~ Delivery

SECTION F - DELIVERY

F.1 Delivery Requirements .
All equipment ordered under this contract shall be shipped "F.O.B. Destination".

3052.247-72 F.O.B. Destination Only
F.2 Delivery Schedules

Delivery shall be made as soon as possible, but no later than 30 __ days after receipt of
contract. .

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FEMA10-060223

Section H - Speciaf Contracting Provisions

SECTION G - CONTRACT ADMINISTRATION DATA
G.1 Contracting and Administration Authority

(a) The Contracting Officer is the only person authorized to approve changes or modify
any of the requirements under this contract unless otherwise authorized in a modification to the
contract and issued under the contract. In the event the Contractor effects any such change at the
direction of any person other than the Contracting Officer, the change will be considered to have
been made without authority, and no adjustment will be made in the contract price to cover any
increase in costs incurred as a result thereof.

(b} The Contractor shall submit requests for modification of this contract to:

Brian McCreary, Contracting Officer
FEMA

Financial & Acquisition Management
500 C Street, 8.W., Room 356
Washington, D.C. 20472

Ph: (202) 646-3757

(c} Contractual problems of any nature should be handled as soon as possible, and
according to applicable public laws and regulations (e.g., Federal Acquisition Regulation). The
problem resolution escalation sequence in DHS shouid be as follows: 1) initial point of contact
for problem resolution should be the individual requesting or receiving the product, 2} then the
Contracting Officer that placed the order, ultimately, the Contracting Officer for the Contract its
self is authorized to formally resolve the problem.

(d} Requests for information on matters related to this contract, such as explanation of
terms and contract interpretation, shall be submitted to the Contracting Officer.

G.2 Administrative Matters
(a) The address and telephone number of the Contracting Officer is:

Brian McCreary, Contracting Officer
FEMA

Financial & Acquisition Management
500 C Street, S.W., Room 350
Washington, D.C. 20472

Ph: (202) 646-3757

(b) The Contractor shall provide to the Contracting Officer a copy of any correspondence
received from any Government activity involved with this contract that is related, or might be
related, to a contractual matter.

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Section H — Special Contracting Provisions

SECTION H — SPECIAL CONTRACTING PROVISIONS

H.1 Central Contractor Registration exemption

For the purposes of this contract, contractors are exempt from the requirements for
registering in the central contractor registration (CCR) as required by 52.212-4(t); however, to
ensure prompt payment, contractors are required to complete attachment (2), and fax the
completed document to the name and attention of the individual noted on the form.

H.2 Federal Mission Verification

Attachment (3), Federal Mission Verification, shall be provided to each common carrier
that will transport each unit to ensure state and local police, highway, and transportation
personnel can verify that the common carrier is supporting this federal mission. The common
carrier shall require each driver to have a copy of the verification during transport.

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Section {- Contraction Terms & Conditions — Commercial Items

Section I— Contract Terms and Conditions

Part (1) — Contract Terms & Conditions - Commercial Items
(FAR 52.212-4)

Cancellation, Rescission, and Recovery of Funds for Illegal or Improper
Activity
(FAR 52.203-8) (JAN 1997)

(a) If the Government receives information that a contractor or a person has engaged in
conduct constituting a violation of subsection (a), (b), (c), or (d) of section 27 of the Office of
Federal Procurement Policy Act (41 U.S.C. 423) (the Act), as amended by section 4304 of the
National Defense Authorization Act for Fiscal Year 1996 (Pub. L, 104-106), the Government
may--

(1) Cancel the solicitation, if the contract has not yet been awarded or issued; or
(2) Rescind the contract with respect to which--
(i) The Contractor or someone acting for the Contractor has been convicted for an
offense where the conduct constitutes a violation of subsection 27(a) or (b) of the
Act for the purpose of either--
(A) Exchanging the information covered by such subsections for anything of
value; or
(B) Obtaining or giving anyone a competitive advantage in the award ofa
Federal agency procurement contract; or
(ii) The head of the contracting activity has determined, based upon a
preponderance of the evidence, that the Contractor or someone acting for the
Contractor has engaged in conduct constituting an offense punishable under
subsection 27(e}(1) of the Act.

(b) if the Government rescinds the contract under paragraph {a) of this clause, the
Government is entitled to recover, in addition to any penalty prescribed by law, the amount
expended under the contract.

(c) The rights and remedies of the Government specified herein are not exclusive, and are
in addition to any other rights and remedies provided by law, regulation, or under this contract.

Contract Terms and Conditions - Commercial Items
(FAR 52.212-4) (OCT 2003)

(a) Inspection‘Acceptance. The Contractor shall only tender for acceptance those items
that conform to the requirements of this contract. The-Government reserves the right to inspect or

test any supplies or services that have been tendered for acceptance. The Government may
require repair or replacement of nonconforming supplies or reperformance of nonconforming

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FEMA10-006226

Section | — Contraction Terms & Conditions ~ Commercial [tems

services at no increase in contract price. The Government must exercise its post-acceptance
rights-—

(1) Within a reasonable time after the defect was discovered or should have been
discovered; and

(2) Before any substantial change occurs in the condition of the item, unless the change is
due to the defect in the item.

(b) Assignment. The Contractor or its assignee may assign its rights to receive payment
due as a result of performance of this contract to a bank, trust company, or other financing
institution, Including any Federal lending agency in accordance with the Assignment of Claims
Act (31 U.S.C. 3727). However, when a third party makes payment (e.g,, use of the
Government-wide commercial purchase card), the Contractor may not assign its rights to receive
payment under this contract.

(c}) Changes. Changes in the terms and conditions of this contract may be made only by
written agreement of the parties.

(cd) Disputes. This contract is subject to the Contract Disputes Act of 1978, as amended
(41 U.S.C. 601-613). Failure of the parties to this contract to reach agreement on any request for
' equitable adjustment, claim, appeal or action arising under or relating to this contract shail be.a
dispute to be resolved in accordance with the clause at FAR 52.233-1, Disputes, which is
incorporated herein by reference. The Contractor shall proceed diligently with performance of
this contract, pending final resolution of any dispute arising under the contract.

(ce) Definitions. The clause at FAR 52.202-1, Definitions, is incorporated herein by
reference.

(f) Excusabie delays. The Contractor shall be liable for default unless nonperformance is
caused by an occurrence beyond the reasonabie contro! of the Contractor and without its fault or
negligence such as, acts of God or the public enemy, acts of the Government in either its
sovereign or contractual capacity, fires, floods, epidemics, quarantine restrictions, strikes,
unusually severe weather, and delays of coramon carriers. The Contractor shall notify the
Contracting Officer in writing as soon as it is reasonably possible after the commencement of
any excusable delay, setting forth the full particulars in connection therewith, shall remedy such
occurrence with all reasonable dispatch, and shal! promptly give written notice to the Contracting
Officer of the cessation of such occurrence.

(g) Invoice.

(1) The Contractor shall submit an original invoice and three copies (or electronic
invoice, if authorized) to the address designated in the contract to receive invoices. An
imvoice must include—

(i) Name and address of the Contractor;

Gi) Invoice date and number:

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FEMA10-000227

Section | - Contraction Terms & Conditions - Commercial Items

(ii) Contract number, contract line item number and, if applicable, the order
number;
(iv) Description, quantity, unit of measure, unit price and extended price of the
items delivered;
{v) Shipping number and date of shipment, including the biil of lading number
and weight of shipment if shipped on Government bill of lading;
(vi) Terms of any discount for prompt payment offered;
(vii) Name and address of official to whom payment is to be sent;
(viii} Name, title, and phone number of person to notify in event of defective
invoice; and
(ix) Taxpayer Identification Number (TIN). The Contractor shall include its TIN
on the invoice only if required elsewhere in this contract.
(x) Electronic funds transfer (EFT) banking information,
{A) The Contractor shall include EFT banking information on the invoice only
if required elsewhere in this contract.
(B) If EFT banking information is not required to be on the invoice, in order
for the invoice to be a proper invoice, the Contractor shall have submitted
correct EFT banking information in accordance with the applicable
solicitation provision, contract clause (e.g., 52.232-33, Payment by Electronic
Funds Transfer—Central Contractor Registration, or 52.232-34, Payment by
Electronic Funds Transfer—Other Than Central Contractor Registration), or
applicable agency procedures.
(C) EFT banking information is not required if the Government waived the
requirement to pay by EFT.
(2) Invoices will be handied in accordance with the Prompt Payment Act
(31 U.S.C. 3903) and Office of Management and Budget (OMB) prompt payment
regulations at 5 CFR Part 1315.

(h) Patent indemnity. The Contractor shall indemnify the Government and its officers,
employees and agents against liability, including costs, for actual or alleged direct or
contributory infringement of, or inducement to infringe, any United States or foreign patent,
trademark or copyright, arising out of the performance of this contract, provided the Contractor
is reasonably notified of such claims and proceedings. .

(1) Payment.—

(1} Jtems accepted. Payment shall be made for items accepted by the Government that
have been delivered to the delivery destinations set forth in this contract.

(2) Prompt payment. The Government will make payment in accordance with the Prompt
Payment Act (31 U.S.C. 3903) and prompt payment regulations at 5 CFR Part 1315.

(3) Electronic Funds Transfer (EFT). If the Government makes payment by EFT, sec
52.212-5(b) for the appropriate EFT clause.

(4) Discount, In connection with any discount offered for early payment, time shall be
computed from the date of the invoice. For the purpose of computing the discount earned,
payment shall be considered to have been made on the date which appears on the

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Section |- Contraction Terms & Conditions — Commercial Items

payment check or the specified payment date if an electronic funds transfer payment is
made.

(5) Overpayments. If the Contractor becomes aware of a duplicate contract financing or
invoice payment or that the Government has otherwise overpaid on a contract financing
or invoice payment, the Contractor shall immediately notify the Contracting Officer and
request instructions for disposition of the overpayment.

(j) Risk of loss, Unless the contract specifically provides otherwise, risk of loss or damage
to the supplies provided under this contract shall remain with the Contractor until, and shall pass
to the Government upon:

(1) Delivery of the supplies to a carrier, if transportation is f.o.b. origin; or
(2) Delivery of the supplies to the Government at the destination specified in the contract,
if transportation is f.o.b. destination.

(k} Taxes. The contract price includes all applicable Federal, State, and loca! taxes and
duties.

(1) Termination for the Government's convenience. The Government reserves the right to
terminate this contract, or any part hereof, for its sole convenience. In the event of such
termination, the Contractor shall immediately stop all work hereunder and shall immediately
cause any and all of its suppliers and subcontractors to cease work. Subject to the terms of this
contract, the Contractor shall be paid a percentage of the contract price reflecting the percentage
of the work performed prior to the notice of termination, plus reasonable charges the Contractor
can demonstrate to the satisfaction of the Government using its standard record keeping system,
have resulted from the termination. The Contractor shall not be required to comply with the cost
accounting standards or contract cost principles for this purpose. This paragraph does not give
the Government any right to audit the Contractor’s records. The Contractor shall not be paid for
any work performed or costs incurred which reasonably could have been avoided.

{m) Termination for cause. The Government may terminate this contract, or any part
hereof, for cause in the event of any default by the Contracter, or if the Contractor fails to
comply with any contract terms and conditions, or fails to provide the Government, upon
request, with adequate assurances of future performance. In the event of termination for cause,
the Government shall not be Liable to the Contractor for any amount for supplies or services net
accepted, and the Contractor shall be liable to the Government for any and all rights and
remedies provided by law. If it is determined that the Government improperly terminated this
contract for default, such termination shall be deemed a termination for convenience.

(n) Title. Unless specified elsewhere in this contract, title to items furnished under this
contract shall pass to the Government upon acceptance, regardless of when or where the
Government takes physical possession.

(0) Warranty. The Contractor warrants and implies that the items delivered hereunder are
merchantable and fit for use for the particular purpose described in this contract.

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(p} Limitation of liability. Except as otherwise provided by an express warranty, the
Contractor will not be Hable to the Government for consequential damages resulting from any
defect or deficiencies in accepted items.

(q) Other compliances. The Contractor shall comply with all applicable Federal, State
and local laws, executive orders, rules and regulations applicable to its performance under this
contract.

(t) Compliance with laws unique to Government contracts. The Contractor agrees to
comply with 31 U.S.C. 1352 relating to limitations on the use of appropriated funds to influence
certain Federal contracts; 18 U.S.C. 431 relating to officials not to benefit; 40 U.S.C. 327,
ef seg., Contract Work Hours and Safety Standards Act; 41 U.S.C. 31-58, Anti-Kickback Act
of 1986; 41 U.S.C. 265 and 10 U.S.C. 2409 relating to whistleblower protections;

49 U.S.C. 40118, Fly American; and 41 U.S.C. 423 relating to procurement integrity.

(s) Order of precedence. Any inconsistencies in this solicitation or contract shail be
resolved by giving precedence in the following order:

(1) The schedule of supplies/services.

(2) The Assignments, Disputes, Payments, Invoice, Other Compliances, and Compliance
with Laws Unique to Government Contracts paragraphs of this clause.

(3) The clause at $2.212-5.

(4) Addenda to this solicitation or contract, including any license agreements for
computer software.

(5) Solicitation provisions if this is a solicitation.

(6) Other paragraphs of this clause.

(7) The Standard Form 1449.

(8) Other documents, exhibits, and attachments.

(9) The specification.

Paragraph (t) intentionally deleted.

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Part (2) — Clauses Incorporated By Reference
(FAR 52.252)

This contract incorporates one or more clauses by reference, with the same force and effect as if
they were given in full text. Upon request, the Contracting Officer will make their full text available.
Also, the full text may be accessed electronicaily at these Internet addresses: http://Awww.arnet.zov.

52.232-23 Assignment of Claims (Jan 86)

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Section | — Contraction Terms & Conditions - Commercial ftems

Part (3) — Contract Terms & Conditions Required to Implement
Statutes or Executive Order — Commercial Items

(FAR 52.212-5) (JAN 2005)

(a) The Contractor shall comply with the following Federal Acquisition Regulation
(FAR) clauses, which are incorporated in this contract by reference, to implement provisions of
law or Executive orders applicable to acquisitions of commercial items:

(1) 52.233-3, Protest After Award (AUG 1996) (31 U.S.C. 3553).
(2) 52.233-4, Applicable Law for Breach of Contract Claim (OCT 2004) (Pub. L. 108-77,
108-78).

(b) The Contractor shall comply with the FAR clauses in this paragraph (b) that the
contracting officer has indicated as being incorporated in this contract by reference to implement
provisions of law or Executive orders applicable to acquisitions of commercial items:

[Contracting Officer shall check as appropriate. ]

x (1) 52.203-6, Restrictions on Subcontractor Sales to the Government (Jul 1995), with
Alternate I (Oct 1995) (41 U.S.C, 253g and 10 U.S.C. 2402).

(2) 52.219-3, Notice of Total HUBZone Set-Aside (Jan 1999)(15 U.S.C, 657a).

(3) 52,219-4, Notice of Price Evaluation Preference for HUBZone Smal! Business
Concerns (Jan 1999) (if the offeror elects to waive the preference, it shall so indicate
in its offer}(15 U.S.C, 657a).

(4) (2) 52.219-5, Very Small Business Set-Aside (June 2003){(Pub. L. 103-403, section
304, Small Business Reauthorization and Amendments Act of 1994). .

(ii) Alternate T (Mar 1999) of 32.219-5.

(iti) Alternate II (June 2003) of 52.219-5.

(5) (i) 52.219-6, Notice of Total Smal! Business Aside (June 2003) (15 U.S.C. 644).
(it) Alternate T (Oct 1995) of 52.219-6.

(iii) Alternate II (Mar 2004) of 52.219-6.

(6) (i) 52.219-7, Notice of Partial Small Business Set-Aside June 2003)(15 U.S.C.
644).

(ii) Alternate I (Oct 1995) of $2.219-7.

iii} Alternate IT (Mar 2004) of 52.219-7,

XK (7) 52.219-8, Utilization of Small Business Concerns (May 2004) (15 U.S.C.
637(d\(2) and (3)).

(8) (i) 52.219-9, Small Business Subcontracting Plan (Jan 2002)(15 U.S.C. 637
(d)(4)).

(ii) Alternate I (Oct 2001) of 52.219-9,

(iii) Alternate T] (Oct 2001) of 52.219-9.

(9) 52.219-14, Limitations on Subcontracting (Dec 1996)(15 U.S.C. 637(a)(14)).
(10) (Gi) §2.219-23, Notice of Price Evaluation Adjustment for Smal) Disadvantaged
Business Concerns (June 2003)(Pub, L. 103-355, section 7102, and 10 U.S.C. 2323)
(if the offeror elects to waive the adjustment, it shall so indicate in its offer).

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(ii) Alternate I June 2003) of 52.219-23,

(11) 52.219-25, Smal! Disadvantaged Business Participation Program—

Disadvantaged Status and Reporting (Oct 1999)(Pub. L. 103-355, section 7102, and

10 U.S.C. 2323).

(12) 52.219-26, Small Disadvantaged Business Participation Program-—Incentive

Subcontracting (Oct 2000)(Pub. L. 103-355, section 7102, and 10 U.S.C. 2323).

(13) 52.219-27, Notice of Total Service-Disabled Veteran-Owned Small Business

Set-Aside (May 2004).

(14) 52.222-3, Conviet Labor (June 2003)(E.O. 11755).

(15) 52.222-19, Child Labor—Cooperation with Authorities and Remedies JUN

2004) (E.O. 13126).

(16) 52.222-21, Prohibition of Segregated Facilities (Feb 1999).

(17) 52,.222-26, Equal Opportunity (Apr 2092)(E.0. 11246).

x (18) 52.222-35, Equal Opportunity for Special Disabled Veterans, Veterans of the
Vietnam Era, and Other Eligible Veterans (Dec 2001)}(38 U.S.C, 4212).

X_ (19) 52.222-36, Affirmative Action for Workers with Disabilities (Jun 1998)(29
U.S.C. 793).

X_ (20) 52.222-37, Employment Reports on Special Disabled Veterans, Veterans of the
Vietnam Era, and Other Eligible Veterans (Dec 20013(38 U.S.C. 4212).

(21) 52.222-39, Notification of Employee Rights Concerning Payment of Union Dues

or Fees (Dec 2004) (E.0. 13201).

(22) (i) 52.223-9, Estimate of Percentage of Recovered Material Content for EPA-

Designated Products (Aug 2000)(42 U.S.C. 6962(c)(3)(A}Gi)).

(ii) Alternate I (Aug 2000) of 52.223-9 (42 U.S.C. 6962(i)(2)(C)).

(23) §2.225-1, Buy American Act--Supplies (June 2003)(41 U.S.C. 10a-10d).

x (24) (i) 52.225-3, Buy American Act —Free Trade Agreements — Israeli Trade Act

(Jan 200541 U.S.C, 10a-10d, 19 U.S.C. 3301 note, 19 U.S.C. 2112 note, Pub. L.

108-77, 108-78, 108-286).

(ii) Alternate ! (Jan 2004) of 52.225-3.

(iii) Alternate II Jan 2004) of $2.225-3.

(25) 52,225-5, Trade Agreements (Jan 2005)(19 U.S.C. 2501, et seq., 19 U.S.C. 3301

note).

X_ (26) 52.225-13, Restrictions on Certain Foreign Purchases (Dec 2003) (E.0.s,
proclamations, and statutes administered by the Office of Foreign Assets Control of
the Department of the Treasury).

X_ (27) 52.225-15, Sanctioned European Union Country End Products (Feb 2000)
(E.0. 12849).

X_ (28) $2.225-16, Sanctioned European Union Country Services (Feb 2000)

(E.0. 12849).

(29) 52.232-29, Terms for Financing of Purchases of Commercial Items (Feb 2002)

(41 U.S.C. 255(f, 10 U.S.C. 2307¢f).

(30) 52.232-30, Installment Payments for Commercial Items (Oct 1995) (41 U.S.C,

255(f}, 10 U.S.C. 2307).

(31) 52.232-33, Payment by Electronic Funds Transfer—Central Contractor

Registration (Oct. 2003)(31 U.S.C. 3332).

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(32) 52.232-34, Payment by Electronic Funds Transfer—Other Than Central
Contractor Registration (May 19993(31 ULS.C. 3332),

X_ (33) 52.232-36, Payment by Third Party (May 1999)(31 U.S.C. 3332).

(34) 52.239-1, Privacy or Security Safeguards (Aug 1996)(5 U.S.C. 552a).
(35)@) 52.247-64, Preference for Privately Owned U.S.-Flag Commercial Vessels
(Apr 2003)(46 U.S.C, 1241 and 10 U.S.C. 2631),

(ii) Alternate [ (Apr 2003) of 52.247-64.

{c) The Contractor shall comply with the FAR clauses in this paragraph (c), applicable to

commercial services, that the Contracting Officer has indicated as being incorporated in this
contract by reference to implement provisions of law or executive orders applicabie to
acquisitions of commercial tems:

{Contracting Officer check as appropriate. |

(1) 52.222-41, Service Contract Act of 1965, as Amended (May 198941 U.S.C, 351,
et seq.).

(2) 52,222-42, Statement of Equivalent Rates for Federal Hires (May 1989}(29 U.S.C.
206 and 41 U.S.C. 351, et seq.).

(3) 52.222-43, Fair Labor Standards Act and Service Contract Act -- Price
Adjustment (Multiple Year and Option Contracts) (May 1989)(29 U.S.C.206 and 41
U.S.C, 351, et seq.).

(4) 52,222-44, Fair Labor Standards Act and Service Contract Act -- Price
Adjustment (Feb 2002)(29 U.S.C. 206 and 41 U.S.C, 351, et seq.).

(5) 52.222-47, SCA Minimum Wages and Fringe Benefits Applicable to Successor
Contract Pursuant to Predecessor Contractor Collective Bargaining Agreements
(CBA) (May 1989)(41 U.S.C. 351, et seq.).

(d) Comptroller General Examination of Record. The Contractor shall comply with the

provisions of this paragraph (d) if this contract was awarded using other than sealed bid, is in

excess

of the simplified acquisition threshcld, and does not contain the clause at 52.215-2, Audit

and Records -- Negotiation.

(1) The Comptroller General of the United States, or an authorized representative of the
Comptroller General, shall have access to and right to examine any of the Contractor’s
directly pertinent records involving transactions related to this contract.

(2) The Contractor shall make available at its offices at all reasonable times the records,
materials, and other evidence for examination, audit, or reproduction, until 3 years after
final payment under this contract er for any shorter period specified in FAR Subpart 4.7,
Contractor Records Retention, of the other clauses of this contract. If this contract is
completely or partially terminated, the records relating to the work terminated shall be
made available for 3 years after any resulting final termination settlement. Records
relating to appeals under the disputes clause or to litigation or the settlement of claims
arising under or relating to this contract shall be made available until such appeals,
litigation, or claims are finally resolved.

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Section | - Contraction Terms & Conditions ~ Commercial items

(3) As used in this clause, records include books, documents, accounting procedures and
practices, and other data, regardless of type and regardless of form. This does not require
the Contractor to create or maintain any record that the Contractor does not maintain in
the ordinary course of business or pursuant to a provision of law.

(e)

(1) Notwithstanding the requirements of the clauses in paragraphs (a), (b), (c) and (d) of
this clause, the Contractor is not required to flow down any FAR clause, other than those
in paragraphs (i) through (vil) of this paragraph in a subcontract for commercial items.
Unless otherwise indicated below, the extent of the flow down shall be as required by the
clause--
(4) 52.219-8, Utilization of Small Business Concerns (May 2004)(15 U.S.C.
637(d)(2) and (3)), in all subcontracts that offer further subcontracting
opportunities. Ifthe subcontract (except subcontracts to small business concerns)
exceeds $500,000 ($1,000,000 for construction of any public facility), the
subcontractor must include 52.219-8 in lower tier subcontracts that offer
subcontracting opportunities.
(ii) 52,.222-26, Equal Opportunity (Apr 2002)(E.O. 11246).
(iii) 52,222-35, Equai Opportunity for Special Disabled Veterans, Veterans of the
Vietnam Era, and Other Eligible Veterans (Dec 2001)(38 U.S.C. 4212).
(iv} 52.222-36, Affirmative Action for Workers with Disabilities Gune 1998}(29
U.S.C. 793).
(v} 52,222-39, Notification of Employee rights Concerning Payment of Union
Dues or Fees (Dec 2004) (E.O. 13201).
(vi) 52.222-41, Service Contract Act of 1965, as Amended (May 1989), flow
down required for all subcontracts subject to the Service Contract Act of 1965 (41
U.S.C. 351, et seq.)
(vit) 52.247-64, Preference for Privately-Owned U.S. Flag Commercial Vessels
(Apr 2003)(46 U.S.C. Appx 1241 and 10 U.S.C. 2631). Flow down required in
accordance with paragraph (d) of FAR clause 52.247-64,
(2} While not required, the contractor may include in its subcontracts for commercial!
items a minimal number of additional clauses necessary to satisfy its contractual
obligations.

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Section | - Contraction Terms & Conditions — Commercial lems

HSAR CLAUSES INCORPORATED BY FULL TEXT

3052.209-70 PROHIBITION ON CONTRACTS WITH CORPORATE EXPATRIATES
[DEC 2003]

fa) Prohibitions.

Section 835 of Public Law 107-296, prohibits the Department of Homeland Security

from entering into any contract with a foreign incorporated entity after

November 25, 2002, which is treated as an inverted domestic corporation as defined in this
clause. The Secretary shall waive the prohibition with respect to any specific contract if the
Secretary determines that the waiver is required in the interest of homeland security, or to
prevent the loss of any jobs in the United States or prevent the Government from incurring any
additional costs that otherwise would not occur.

(b) Definitions, As used in this clause:

“Expanded Affiliated Group” means an affiliated group as defined in section 1504(a) of the
Internal Revenue Code of 1986 (without regard to section 1504(b) of such Code), except that
section 1504 of such Code shall be applied by substituting “more than 50 percent’ for “at least 80
percent’ each place it appears.

“Foreign Incorporated Entity” means any entity which is, or but for subsection (b) of

Section 835 of the Homeland Security Act, Public Law 107-296, would be, treated as a
foreign corporation for purposes of the Internal Revenue Code of 1986.

“Inverted Domestic Corporation.” A foreign incorporated entity shall be treated as an

inverted domestic corporation if, pursuant to a plan (or a series of related transactions}—

(1) The entity completes after November 25, 2002, the direct or indirect acquisition of
substantially all of the properties held directly or indirectly by a domestic corporation or
substantially all of the properties constituting a trade or business of a domestic

partnership;

(2) After the acquisition at least 80 percent of the stock (by vote or value) of the entity is held—
(i) In the case of an acquisition with respect to a domestic corporation, by former

shareholders of the domestic corporation by reason of holding stock in the domestic
corporation; or

(11) In the case of an acquisition with respect to a domestic partnership, by former

partners of the domestic partnership by reason of holding a capital or profits interest in

the domestic partnership; and

(3) The expanded affiliated group which after the acquisition includes the entity does not have
substantial business activities in the foreign country in which or under the law of which the entity
is created or organized when compared to the total business activities of such expanded affiliated
group. “Person”, “domestic”, and “foreign” have the meanings given such terms by paragraphs
(1), (4), and (5) of section 7701 (a) of the Internal Revenue Code of 1986, respectively.

{c) Special rules. The following definitions and special rules shall apply when

determining whether a foreign incorporated entity should be treated as an inverted

domestic corporation.

(1) Certain Stock Disregarded. For the purpose of treating a foreign incorporated entity as an
inverted domestic corporation these shall not be taken into account in determining

ownership:

(i) stock held by members of the expanded affiliated proup which includes the foreign
incorporated entity; or

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Section | - Contraction Terms & Conditions — Commercial Items

(ii) stock of such entity which is sold in a public offering related to the acquisition

described in subsection (b)(1) of Section 835 of the Homeland Security Act, Public Law 107-
296.

(2) Plan Deemed In Certain Cases. If a foreign incorporated entity acquires directly or
indirectly substantially all of the properties of a domestic corporation or partnership

during the 4-year period beginning on the date which is after the date of enactment of this Act
and which is 2 years before the ownership requirements of subsection (b)(2) are met, such
actions shall be treated as pursuant to a plan.

(3) Certain Transfers Disregarded. The transfer of properties or liabilities (including by
contribution or distribution) shall be disregarded if such transfers are part of a plan a
principal purpose of which is to avoid the purposes of this section.

(d) Special Rule For Related Partnerships. For purposes of applying Section 835(b) of

Public Law 107-296 to the acquisition of a domestic partnership, except as provided in
regulations, all domestic partnerships which are under common control (within the

meaning of section 482 of the Interna! Revenue Code of 1986) shall be treated as a
partnership.

(e) Treatment of Certain Rights.

(1) Certain rights shall be treated as stocks to the extent necessary to reflect the present

value of all equitable interests incident to the transaction, as follows:

(i) warrants;

(ii) options;

(iti} contracts to acquire stock;

(tv} convertible debt instruments; and

(v) others similar interests.

(2) Rights labeled as stocks shali not be treated as stocks whenever it is deemed

appropriate to do so to reflect the present value of the transaction or to disregard

transactions whose recognition would defeat the purpose of Section 835.

(f) Disclosure.

By signing and submitting its offer, an offeror under this solicitation represents that it not a
foreign incorporated entity that should be treated as an inverted domestic corperation pursuant to
the criteria of Section 835 of the Homeland Security Act, Public Law 107-296 of November 25,
2002.

(2) Ifa waiver has been granted, a copy of the approved waiver shall be attached to the

bid or proposal.

(End of provision)

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Section J - Contract Documents, Exhibits, or Attachments

SECTION J - CONTRACT DOCUMENTS, EXHIBITS,
OR ATTACHMENTS

Attachment 1 Special Marking Requirements — Sample Unit Data Plate
Attachment 2 FEMA Electronic Funds Transfer Information document
Attachment 3 Federal Mission Verification

Attachment 4 CMH Proposal (spreadsheet)

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Section K — Solicitation Provisions

Part (2) — Offeror Representations and Certification — Commercial
Items

§2.212-3 Offeror Representations and Certifications-Commercial [tems. (MAR 2005)

An offeror shall complete only paragraph G) of this provision if the offeror has completed the
annual representations and certifications electronically at http://orca.bpn.gov. If an offeror has
nat completed the annual representations and certifications electronically at the ORCA website,
the offeror shall complete only paragraphs (b) through @) of this provision.

(a) Definitions. As used in this provision:

"Emerging smali business" means a small business concern whose size is no greater than 50
percent of the numerical size standard for the NAICS code designated.

"Forced or indentured child labor" means all work or service-

(1) Exacted from any person under the age of 18 under the menace of any penalty
for its nonperformance and for which the worker does not offer himself
voluntarily; or

(2) Performed by any person under the age of 18 pursuant to a contract the
enforcement of which can be accomplished by process or penalties.

"Service-disabled veteran-owned small business concern'-
(1) Means a small business concern-

(i) Not less than 51 percent of which is owned by one or more service-
disabled veterans or, in the case of any publicly owned business, not less
than 51 percent of the stock of which is owned by one or more service-~
Gisabled veterans; and

(it) The management and daily business operations of which are controlled
by one or more service-disabled veterans or, in the case of a service-
disabled veteran with permanent and severe disability, the spouse or
permanent caregiver of such veteran.

(2) Service-disabled veteran means a veteran, as defined in 38 U.S.C. 101(2), with
a disability that is service-connected, as defined in 38 U.S.C. 101(16).

"Small business concern” means a concern, including its affiliates, that is independently owned
and operated, not dominant in the field of operation in which it is bidding on Government
contracts, and qualified as a small business under the criteria in 13 CFR part 121 and size

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Section K — Solicitation Provisions

standards in this solicitation.

"Veteran-owned small business concern" means a small business concern-

(1) Not less than 51 percent of which is owned by one or more veterans (as
defined at 38 U.S.C. 101(2)) or, in the case of any publicly owned business, not
less than $i percent of the stock of which is owned by one or more veterans; and

(2) The management and daily business operations of which are controlled by one
or more veterans.

“Women-owned business concern" means a concern which is at least 5] percent owned by one or
more women; or in the case of any publicly owned business, at least 51 percent of its stock is
owned by one or more women; and whose management and daily business operations are
controlled by one or more women.

"Women-owned small business concern" means a small business concern-

(1} That is at least 51 percent owned by one or more women; or, in the case of any
publicly owned business, at least 51 percent of the stock of which is ewned by
one or more women; and

(2) Whose management and daily business operations are controlled by one or
more women,

(b) Taxpayer Identification Number (TIN) (26 U.S.C. 6109, 31 U.S.C. 7701). (Not
applicable if the offeror is required to provide this information to a central contractor
registration database to be eligible for award.)

[] TIN: [

(1) All offerors must submit the information required in paragraphs (b)(3) through
(b){5) of this provision to comply with debt collection requirements of 31 U.S.C.
7701 (c) and 3325(d), reporting requirements of 26 U.S.C. 6041, 60414, and
6050M, and implementing regulations issued by the Internal Revenue Service

(IRS).

(2) The TIN may be used by the Government to collect and report on any
delinquent amounts arising out of the offeror's relationship with the Government
G1 U.S.C. 7701{c)(3)). Ef the resulting contract is subject to the payment
reporting requirements described in FAR 4.904, the TIN provided hereunder may
be matched with IRS records to verify the accuracy of the offeror's TIN.

(3) Taxpayer Identification Number (TIN).

[ ] TEN has been applied for.

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Section K - Solicitation Provisions

[ ] TIN is not required because:

[| | Offeror is a nonresident alien, foreign corporation, or foreign partnership that does not have
income effectively connected with the conduct of a trade or business in the United States and
does not have an office or place of business or a fiscal paying agent in the United States;

| | Offeror is an agency or instrumentality of a foreign government;
[ | Offeror is an agency or instrumentality of the Federal Government.
(4) Type of organization.

1 Sole proprietorship;

] Partnership;

} Corporate entity (not tax-exempt);

| Corporate entity (tax-exempt);

] Government entity (Federal, State, or local);

| Foreign government;

] International organization per 26 CFR 1.60494;
] Other [ ]-

So eS

(5) Common parent.

[ ] Offeror is not owned or controlled by a common parent;
[ |} Name and TIN of common parent:

[ ] Name [].

[

(c}) Offerors must complete the following representations when the resulting contract wil!
be performed in the United States or its outlying areas. Check all that apply.

(1) Smail business concern. The offeror represents as part of its offer that it [ ] is,
[ ] is not a small business concern.

(2) Veteran-owned small business concern. [Complete only if the offeror
represented itself as a small business concern in paragraph (c)(1) of this
provision.] The offeror represents as part of its offer that it [ | is, [ } is nota
veteran-owned small business concern.

(3) Service-disabled veteran-owned small business concern. [Complete only if the
offeror represented itself as a veteran-owned small business concern in paragraph
(c)(2} of this provision.] The offeror represents as part of its offer that it [ ] is, [ ]
is not a service-disabled veteran-owned small business concern,

(4) Small disadvantaged business concern. [Complete only if the offeror

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represented itselfas a small business concern in paragraph (c)(1) of this
provision.] The offeror represents, for general statistical purposes, that it [ ] is, [ ]
is not a small disadvantaged business concern as defined in 13 CFR 124.1002.

(5) Women-owned small business concern. [Complete only if the offeror
represented itself as a small business concern in paragraph (c)(1} of this
provision.] The offeror represents that it [ ] is, [ ] is not a women-owned small
business concern,

Note: Complete paragraphs (c)}(6) and (c)(7) only if this solicitation is expected to exceed the
simplified acquisition threshold.

{6) Women-owned business concern (other than smail business concern).
[Complete only if the offeror is a women-owned business concer and did not
represent itself as a small business concern in paragraph (c}(1) of this provision. ]
The offeror represents that it [] 1s a women-owned business concern.

(7) Tie bid priority for labor surplus area concerns. if this is an invitation for bid,
small business offerors may identify the labor surplus areas in which costs to be
incurred on account of manufacturing or production (by offeror or first-tier
subcontractors) amount to more than 50 percent of the contract price: [ ]

(8) Small Business Size for the Small Business Competitiveness Demonstration
Program and for the Targeted Industry Categories under the Small Business
Competitiveness Demonstration Program. [Complete only if the offeror has
represented itself to be a small business concern under the size standards for this
solicitation. ]

(i) [Complete only for solicitations indicated in an addendum as being set-
aside for emerging smal! businesses in one of the designated industry
groups (DIGs).] The offeror represents as part of its offer that it [ } is, [ J is
not an emerging small business.

(ii) [Complete only for solicitations indicated in an addendum as being for
one of the targeted industry categories (TICs) or designated industry
groups (DIGs).] Offeror represents as follows:

(A) Offeror’s number of employees for the past 12 months (check
the Employees column if size standard stated in the solicitation is
expressed in terms of number of employees); or

(B) Offeror's average annual gross revenue for the last 3 fiscal
years (check the Average Annual Gross Number of Revenues
column if size standard stated in the solicitation is expressed in
terms of annua! receipts).

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(Check one of the following):

Average Annual Gross Revenues
Number of Employees —

{ | 50 or fewer |_| $1 million or less

[_ ] 51-100 [1 $1,000,001-$2 million

F | 101-250 f_]$2,000,001-$3.5 million
L.] 251-500 [_] $3,500,001-$5 million
[_] 561-750 [_} $5,000,001-$10 million
[ | 751-1,000 L_] $10,006,001-$17 million
[_] Over 1,000 {_] Over $17 million

(9) [Complete only if the solicitation contains the clause at FAR 52.219-23,
Notice of Price Evaluation Adjustment for Small Disadvantaged Business
Concerns, or FAR $2.219-25, Small Disadvantaged Business Participation
Program-Disadvantaged Status and Reporting, and the offeror desires a benefit
based on its disadvantaged status. ] .

(i} General. The offeror represents that either-

(A) It [] is, f ] is not certified by the Sma!l Business
Administration as a small disadvantaged business concern and
identified, on the date of this representation, as a certified small
disadvantaged business concern in the database maintained by the
Small Business Administration (PRO-Net), and that no material
change in disadvantaged ownership and contro! has occurred since
its certification, and, where the concern is owned by one or more
individuals claiming disadvantaged status, the net worth of each
individual upon whom the certification is based does not exceed
$756,000 after taking into account the applicable exclusions set
forth at 13 CFR 124.104(c)(2); or

(B) It [ ] has, [ ] has not submitted a completed application to the
Small Business Administration or a Private Certifier to be certified
as a small disadvantaged business concern in accordance with 13
CFR 124, Subpart B, and a decision on that application is pending,
and that no material change in disadvantaged ownership and
control has occurred since its application was submitted.

(ii) { ] Joint Ventures under the Price Evaluation Adjustment for Small
Disadvantaged Business Concerns. The offeror represents, as part of its
offer, that it is a joint venture that complies with the requirements in 13
CFR 124.1602(f) and that the representation in paragraph (c)(9)(i) of this
provision is accurate for the small disadvantaged business concern that is
participating in the joint venture. The offeror shall enter the name of the

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smal! disadvantaged business concern that is participating in the joint
venture: | |

(18} HUBZone smal business concern. [Complete only ifthe offeror represented
itself as a small business concern in paragraph (c)(1) of this provision.] The
offeror represents, as part of tts offer, that-- .

(1) It | ] is, [ ] is not a HUBZone small business concern listed, on the date
of this representation, on the List of Qualified HUBZone Small Business
Concerns maintained by the Small Business Administration, and no
material change in ownership and control, principal office, or HUBZone
employee percentage has occurred since it was certified by the Small
Business Administration in accordance with 13 CFR part 126; and

(ii) It { J is, [ ] is not a joint venture that complies with the requirements of
13 CFR part 126, and the representation in paragraph (c}(103(d) of this
provision is accurate for the HUBZone small business concern or concerns
that are participating in the joint venture. [The offeror shall enter the name
or names of the HUBZone small business concern or concerms that are
participating in the joint venture:_ .| Each HUBZone small
business concern participating in the joint venture shall submit a separate
signed copy of the HUBZone representation.

(d) Representations required to implement provisions of Executive Order 1 1246-
(1) Previous contracts and compliance. The offeror represents that-

(i) It { ] has, [ ] has not participated in a previous contract or subcontract
subject to the Equal Opportunity clause of this solicitation; and

(31) It [ ] has, [ } has not filed all required compliance reports.
(2) Affirmative Action Compliance. The offeror represents that-

(i) It [ ] has developed and has on file, [ ] has not developed and does not
have on file, at each establishment, affirmative action programs required
by rules and regulations of the Secretary of Labor (41 CFR parts 60-1 and
60-2), or

(ii) It [ ] has not previously had contracts subject to the written affirmative
action programs requirement of the rules and regulations of the Secretary
of Labor.

(e) Certification Regarding Payments to Influence Federal Transactions (31 U.S.C. 1352).
(Applies only if the contract is expected to exceed $100,000.) By submission of its offer,
the offeror certifies to the best of its knowledge and belief thal no Federal appropriated

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funds have been paid or will be paid to any person for influencing or attempting to
influence an officer or employee of any agency, a Member of Congress, an officer or
employee of Congress or an employee of a Member of Congress on his or her behalf in
connection with the award of any resultant contract.

Paragraph (1) 1s intentionally deleted.

Paragraph (g) is intentionally deleted.

(h) Certification Regarding Debarment, Suspension or Ineligibility for Award (Executive
Order 12549). (Applies only if the contract value is expected to exceed the simplified
acquisition threshold.) The offeror certifies, to the best of its knowledge and belief, that
the offeror and/or any of its principals--

(2) [ ] Are, [ ] are not presently debarred, suspended, proposed for debarment, or
declared ineligible for the award of contracts by any Federal agency; and

(2) [ ] Have, [ ] have not, within a three-year period preceding this offer, been
convicted of or had a civil judgment rendered against them for: Commission of
fraud or a criminal offense in connection with obtaining, attempting to obtain, or
performing a Federal, state or local government contract or subcontract; violation
of Federal or state antitrust statutes relating to the submission of offers; or
Commission of embezzlement, theft, forgery, bribery, falsification or destruction
of records, making false statements, tax evasion, or receiving stolen property; and

(3) [ ] Are, [ ] are not presently indicted for, or otherwise criminally or civilly
charged by a Government entity with, commission of any of these offenses.

Gi) Certification Regarding Knowledge of Child Labor for Listed End Products
(Executive Order 13126). [The Contracting Officer must list in paragraph (i)(1) any end
products being acquired under this solicitation that are included in the List of Products
Requiring Contractor Certification as to Forced or Indentured Child Labor, unless
excluded at 22.1503(b).}

(1) Listed end products.

Listed End Product [ ]
Listed Countries of Origin [ ]

(2) Certification. [If the Contracting Officer has identified end products and
countries of origin in paragraph ()(1} of this provision, then the offeror must
certify to either (1)(2)(D or @)(2)Gi) by checking the appropriate block.]

| ] G) The offeror will not supply any end product listed in paragraph (i)(1}
of this provision that was mined, produced, or manufactured in the

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corresponding country as listed for that product.

[ ] Gi) The offeror may supply an end product listed in paragraph (i)(1) of
this prevision that was mined, produced, or manufactured in the
corresponding country as listed for that product. The offeror certifies that
it has made a good faith effort to determine whether forced or indentured
child labor was used to mine, produce, or manufacture any such end
product furnished under this contract. On the basis of those efforts, the
offeror certifies that it is not aware of any such use of child labor.

Paragraph (j)(1) is intentionally deleted.

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Office of the General Counsel
U.S. Department of Homeland Security
Washington, DC 20528

3 Sep 2005 -.
-\ Homeland
7 Security

MEMORANDUM FOR: State and Local Law Enforcement, Turnpike, and Transportation
Personnel

FROM: Thomas E.Mason
Contracting Officer
Department of Homeland Security

SUBJECT: . Federal Mission Verification

OVERVIEW
You may use this document for thirty consecutive days from the above stated date to verify that
the Federal Government has contracted a common carrier to transport manufactured homes in

support of national, Hurricane Katrina, emergency-response efforts.

BACKGROUND:

On August 29, 2005, Hurricane Katrina made landfall on the United States Gulf shores,
devastating entire towns and cities within Alabama, Mississippi and Louisiana, including the
entire city of New Orleans, Louisiana. The end result is that hundreds of thousands of people
have been left homeless and without basic necessities. There is an immediate need for shelter for
these persons that cannot be alleviated without the intervention described herein,

in response, the Federal Emergency Management Agency, under the direction of the Secretary of
the Department of Homeland Security and in coordination with state and iocal governments, has
launched the largest emergency assistance relief effort in our nations’ history.

In support of these relief efforts, the Federal Government must immediately procure
manufactured single homes and swiftly transport these homes to the affected areas. These homes
must immediately be transported through state roadways during all hours, without escort, and
irrespective of size, width, and weight. Time is of the essence. Lives must be saved and
people’s hopes must be restored.

Should you need to verify that a particular common carrier is performing services for the Federal
Government, contact the Contracting Officer named above at 202-692-4210 or 202-360-3001.

This document was prepared by the Department of Homeland Security, Office of the General Counsel and may
contain confidential and/or sensitive attorney client privileged, attorney work-product and/or U.S. Government
information, and is not for release, review, retransrnission, dissemination or use by anyone other than the intended
recipient. Please consult the Office of the General Counsel before disclosing any information contained herein
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FEMA10-000247

OFFICE OF THE GOVERNOR STATE CAPIFOL

MONTGOMERY, ALABAMA 36130

Bos Rivey (334} 242-7100
GOVERNOR Fax: (334) 242-0937
STATE OF ALABAMA

September 3, 2005

Mr. Kenneth O. Burris

Acting Director of Operations

Federal Emergency Management Agency
U.S. Department of Homeland Security
500 C Street, SW

Washington, D.C. 20472

%

Re: FEMA Request for Waiver of State Law
Dear Mr. Burris:

This letter is to inform you that effective this date, and from 90 days hereafter, I am granting permission
to transport mobile/modnlar homes in the State of Alabama and waiving the enforcement of all applicable
Alabama state laws and regulations in the State of Alabama that specifically govern the transport of
mobile/modular homes. Transporters shal! be responsible to ensure that the appropriate signs, markings,
‘and flags, etc., are within the promulgated rules and regulations established for the movement of
oversized vehicles: however, | am waiving escort vehicle requirements. Due to public safety concems,
transporters are prohibited from traveling on the following Alabama roadways: U.S. 90, Alabama 10, and
US. 80.

Furthermore, | will consider renewing this waiver beyond the 90-day period if deemed necessary. I have
notified the directors for the Alabama Department of Transportation and the Alabama Department of
Public Safety of my decision. ,

Alabama will waive its sovereign right to enforce only those Alabama laws and regulations applicable to
the mission of transporting single and double-wide mobile homes into the State of Alabama. This waiver
does not extend to the transportation of products or oversized loads not considered to be mobile or
roaodular homes. Furthermore, this waiver applies only to contractors duly authorized by federal or state
government involved in national emergency relief efforts related to Hurricane Kairina.

oe
fe
Bob Riley

Governor
State of Alabama

BR/DVT/nd

Cc: Director Joe McInnes, Alabama Department of Transportation
Col. Mike Coppage, Alabama Department of Public Safety
Director Bruce P. Baughman, Alabama Emergency Management Agency
Col. Jim Walker, Alabama Department of Homeland Security
Mr. Ken Wallis, Senior Lega! Advisor, Governor’s Office
David V. Tranter, General Counsel, Alabama Emergency Management Agency
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FEMA10-000248

Mason, Thomas

From: Kevin Clayton [KevinC @clayton.net]

Sent: Saturday, September 03, 2005 4:37 PM
To: Granat, Vicki: elizabeth_a_cocke@hud.dhs.gov; Mason, Thomas E
Subject: Re: Clayton Homes contact information

My new home # 865-681-8738. Please don't hesitate fo call if I can help. As I mentioned
we can supply an additional 2,000 from our independent dealer inventory and I'm working
with Bryan McCreary on new FEMA specs for new homes to be built. ‘Thank you for allowing
us to help in this process.

AL 02:21 PM 9/2/2005 -0400, you wrote:
>Mr. Mason,

s .
>Per our phone conversation, here are the contact names you requested:
>

>Kevin Clayton

> CEO

pwork 865-380-3601

scell 865-406-8543

rhome 865-982-3498

>David Booth

>President

cpwork 865-380-3100

>cell 865-406-6765

shome 865-692-0250

>

>Tab Statum

>Vice President - Operations

>work 865-380-3116

pcell 865~-385-5016

>vhome 865-982-0624

>

>Please call any of us when you are ready to proceed further. We will
>be avaliable throughout the weekend.
>

>Thank you,

>

>Tab Statum

vvVY

>

pee

>No virus Found in this incoming message.

>Checked by AVG Anti-Virus.

>Version: 7.0.344 / Virus Database: 267.10.18/89 - Release Date:

>9/2/2005

Confidentiality Notice

This message and the accompanying documents may contain information that is privileged,
confidential, or exempt from disclosure under applicabie law. If the reader of this e-
MaiL is not the intended recipient, you are hereby notified that you are strictly
prohibited from reading, disseminating, distributing, or copying this communication. Tf
you have received this e-mail in error, please notify the sender immediately and destroy
the original transmission. Thank you.
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FEMA10-000249

Mason, Thomas

From: Kevin Clayton [KevinC @clayton.net]
Sent: Saturday, September 03, 2005 4:22 PM
To: Granat, Vicki; Mason, Thomas E
Subject: Re: Revised home fisting

Ms. Granat, Mr. Mason,

T asked David and Tab to also advise you that we could provide a similar quantity again by
selling units from our independent dealer inventory. The mix of the units and pricing
would be very similar. A list could be provided by Wed if you have an interest. ‘To keep
it simple we would take possession of the units and offer them to you in bulk. Thank you
for the opportunity to help with this disaster. Being part of Warren Buffett's Berkshire
Hathaway we have the ability and desixe to execute quickly and with exceptional customer
Service.

At 10:39 PM 9/2/2005 -0400, you wrote:

>Ms. Granat and Mr. Mason,

>

>Per cur conversations this evening, here is the revised listing of
>homes that are available for shipment to the Baton Rouge staging area.
> .

>We have removed those homes that have been found to already be under
scontract to individual buyers before Hurricane Katrina
>evolved...leaving approximately 18900 homes on this list. There will be
>a few more that will be identified as sold in the next few days.
>However, we have had many more new homes added to our inventory since
pwe Eirst gave you the list om Wednesday. We should be able to deliver
>approximately 1900-2000 of these homes within the next several days.

>

eWe added the column labeled "Wind Zone". If the field is blank, it
>should be a Zone i home, and all of the Zone 2 and 3 houses are identified.
>

>In the present environment of higher fuel prices and sporadic
pavailability, Clayton Homes will shoulder it's responsibility by
sproviding every presently available home while assuming all
ptranspeortation cost risk. Original pricing was calculated and
ediscounted without anticipating theee fuel price increases, However,
>we will honor these prices previously given tc HUD and FEMA,

>

>On a side note, the power will be off in our office on Saturday and
>Sunday for scheduled maintenance, so we will be working this project
>from home and cell phones this weekend. Please do not hesitate to call
sme or any of the others listed below.

=

>Thank you,

>

>Tab Statum

>

»Contacts:

>Kevin Clayton

> CEO

rwork 865-380-3601

-cell 865-496-8583

>home 865-982-3498

=

>David Booth

>President

pwork 865~380-3100

ecell 865-406-6765

shome 865-692-0250

o
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FEMA10-000250

>Tab Statum

>Vice President - Operations
>WOrK 865-480-3116

>cell 865-385-5016

shome 865-982-0624

>

>

> .
>No virus found in this incoming message.

>Checked by AVG Anti-Virus.

>Version: 7.0.344 / Virus Database: 257.10.18/89 - Release Date:

»9/2/2005

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mail is not the intended recipient, you are hereby notified that you are strictly
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you have received this e-mail in error, please notify the sender immediately and destroy

the original transmission. Thank you.
